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APPENDIX A




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PX Number   Exhibit Name
PX11        Redacted/Sealed - Declaration/Report B. Ray Fitzgerald (Iranian Munitions in Iraq
            2003-2011)
PX12        Expert Report & Declaration of Dr. Terence M. Keane, Ph.D. (Posttraumatic Stress
            Disorder & Psych. Trauma)
PX237       Home Office Immigration and Nationality Directorate, "Operational Guidance Note:
            Iraq," (January 12, 2006)
PX284       Timothy McWilliams & Nicholas Schlosser, U.S. Marines in Battle: Fallujah,
            November - December 2004 (Quantico, VA: United States Marine Corps History
            Division, 2014), p. 6.
PX285       Pablo Villa, “November, 2004 - Into the Hot Zone at the Second Battle of Fallujah,”
            U.S. Army, June 7, 2019,
            https://www.army.mil/article/178601/november_2004_into_the_hot_zone_at_the_se
            cond_battle_of_fallujah.
PX286       Michael Fitzsimmons, Governance, Identity and Counterinsurgency: Evidence from
            Ramadi and Tal Afar: Ramadi (September 2004 to July 2005) (Strategic Studies
            Institute, US Army War College: 2013), p. 34.
PX358       Department of Defense Press Briefing, with General David Petraeus, Commander,
            Multi-National Force – Iraq, and Ryan Crocker, U.S. Ambassador to Iraq,
            Washington, D.C., (September 12, 2007)
PX360       Rear Admiral Gregory Smith, U.S. Department of Defense, press briefing, January
            20, 2008
PX375       U.S. Department of Defense, press briefing, December 3, 2004,
            https://www.globalsecurity.org/military/library/news/2004/12/mil-041203-
            dod01.htm.
PX385       MG Rick Lynch, press briefing, U.S. Department of Defense, July 6, 2007,
            https://www.c-span.org/video/?199709-1/operations-iraq# (emphasis added).
PX528       United Nations Security Council Consolidated List (February 28, 2003) (Ansar al-
            Islam)
PX643       Frederick W. Kagan, Kimberly Kagan, & Danielle Petka, "Iranian Influence in the
            Levant, Iraq, and Afghanistan," pp. 17, 22, 26, Institute for the Study War, (2008)
PX715       Bill Roggio, “Iran and al Qaeda in Iraq,” The Long War Journal, January 6, 2007
            (noting that “Iranian involvement in Iraq with the Sunni terrorists has been an open
            secret in military and intelligence circles since the Fallujah uprising in March of
            2004. Iranian mines and weapons were funneled to Zarqawi’s terrorists in Fallujah
            and elsewhere throughout Sunni dominated Anbar province.”).
PX716       Angel Rabasa et al., “The Transition in Al-Anbar, Iraq,” in From Insurgency to
            Stability: Volume II: Insights from Selected Case Studies (Santa Monica: RAND
            Corporation, 2011), p. 175.
PX717       Patrick B. Johnston et al., Foundations of the Islamic State: Management, Money,
            and Terror in Iraq, 2005-2010 (RAND Corporation: Santa Monica, 2016), pp. 20,
            39.




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PX720       Richard Brennan, Jr., Charles P. Reis, Larry Hanauer, Ben Connable, Terrence K.
            Kelly, et al., Ending the U.S. War in Iraq (Santa Monica, CA: RAND National
            Defense Research Institute, 2013) (available at
            https://www.rand.org/pubs/research_reports/RR232.html).
PX721       Bill Roggio, "Rare Photo Surfaces of Top Al Qaeda Leaders Inside Iran," FDD's
            Long War Journal (September 2, 2022).
PX812       Video and Transcript of Interview with Haj Abu Mahdi al-Muhandis (March 1,
            2017)
PX890       MNC-I BUA February 2007, Intelligence Highlights. FOIA Request, CENTCOM.
            Declassified by MG Michael X. Garrett, USCENTCOM Chief of Staff.

PX900       “Chapter Five: Anbar: Insurgency Grows, Strengthens, Elections (2005)” in Study
            of the Insurgency in Anbar Province, Iraq (June 13, 2007),
            https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1002.%20chapter5.pdf
PX901       “Chapter Four: The Insurgency Grows and Fights Pitched Battles (2004)” in Study
            of the Insurgency in Anbar Province, Iraq (June 13, 2007),
            https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
            papers/1000.%20Chapter%204.pdf
PX937       Insurgent Group Profile: Al Qaeda in Iraq (AQI), published May 2, 2007, MCFI
            Study A (Working Paper); declassified by USCENTCOM Chief of Staff, MG
            Michael X. Garrett, 201505, FOIA Release
PX981       “Corps Shaping Operation ISO Operations River Blitz and River Bridge,”
            https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/index.cfm, p. 13
PX982       “Operation River Blitz,” https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
            papers/index.cfm/, pp. 2, 15.
PX983       “CIOC Special Analysis Paper – The Changing Nature of the Fight in Iraq,” Multi-
            National Force – Iraq Combined Intelligence Operations Center, April 30, 2006.
PX985       "MNC-I BUA Intel Daily Slides – Feb 07,” Multi-National Corps – Iraq, p. 123.
PX986       SEALED - National Ground Intelligence Center, Iraq Team/IED Group; DoD Prod.
            DTRA_00000139 - 00000140.
PX987       SEALED - Counter IED Operations Integration Center, Flow of Iranian Munitions
            Analysis in MND-B and C, Information Cutoff Date: 12 April 2008.
            DTRA00000038 - 00000084.
PX988       SEALED - TEDAC Toolmark Match Confirmation, dated March 19, 2007,
            produced by DOD, Bates No. DTRA_00000296-00000318
PX989       SEALED - s_21._1cd_ace_daily_intsum_08_sep_04_CLEAR, 1st Cavalry Division
            Daily Intelligence Summary (INTSUM), 8 September 2004, page 3 USCENTCOM
            FOIA #00000562
PX990       SEALED - 1st Cavalry Division Daily Intelligence Summary (INTSUM), 8
            September 2004, USCENTCOM FOIA #00000562
            (s_22._1CD_ACE_Daily_INTSUM_23_September_04_CLEAR)
PX991       REDACTED/UNDER SEAL
            s_690_soldiers_and_29_Officers_who_remained_at_Camp_SPARR
PX992       UNDER SEAL Iranian Rocket and Smuggling Routes in Baghdad


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PX993        CJTF EOD Storyboard, WIT Report, CEXC 22776-08 RE M.Owen (USCENTCOM
             FOIA# 18-0432)
PX994        EOD Storyboard EOD Storyboard RE G.VonLetkemann VBC (04 2014C Apr 08
             IDF Attack)
PX995        Taylor Prazynski I MEF Situation Report (I MEF Sit Rep (November 9, 2004)
             CENTCOM FOIA 2018-010939
             Nolte_Combined_Docs_U_18PGS_SANITIZED_CLEAR)
PX1000       REDACTED/SEALED Expert Report & Declaration of Dr. Daveed Gartenstein-
             Ross (Bellwether Attack Group Attributions)
PX1002       REDACTED/SEALED Professional Background, Expertise and Methodology
             Expert Report of Col. M. Lee Walters (U.S. Army, ret.), CW4 Ronald Evans (U.S.
             Army, ret.), & CW3 David Sultzer (U.S. Army, ret.)
PX1003       REDACTED/SEALED Expert Report & Declaration of Michael Pregent
PX1100       04-04-2004 Ops Report, s_17_MDR_22-0052_Attack_CLEAR,
             FISHBECK_CENTCOM_00000097-100

PX1101       U.S. Central Command Background Briefing (April 5, 2004),

PX1102       U.S. Dept. of Defense Coalition Provisional Authority Briefing (April 5, 2004),

PX1103       U.S. Dept. of Defense Coalition Provisional Authority Briefing (April 13, 2004),

PX1105       REDACTED - Declaration of PFC Peter Nana Yaw Baah, A Company, 2nd
             Battalion, 5th Cavalry Regiment, 1st Cavalry Division, United States Army

PX1106       REDACTED - Declaration of Franklyn Lee Doss, B Company, 2nd Battalion, 5th
             Cavalry Regiment, 1st Cavalry Division, United States Army

PX1107       REDACTED - Declaration of Salvador Beltran-Soto, A Company, 2nd Battalion,
             5th Cavalry Regiment, 1st Cavalry Division, United States Army

PX1108       REDACTED - Declaration of Alexander Rodriguez Bryant, C Company, 2nd
             Battalion, 5th Cavalry Regiment, 1st Cavalry Division, United States Army

PX1109       REDACTED - Declaration of Anthony John Ferris, C Company, 2nd Battalion, 5th
             Cavalry Regiment, 1st Cavalry Division, United States Army

PX1200       11-14-2004 Ops Report, s_21_MDR_22-0052_Attack_CLEAR,
             FISHBECK_CENTCOM_00000114-117

PX1201       Press Release-DoD News_ DoD Identifies Marine Casualties 2004.11.16

PX1202       REDACTED - Declaration of Randy B. Lake, 2nd Platoon, India Company, 3rd
             Battalion, 1st Marine Regiment, 1st Marine Division, United States Marine Corps.



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PX1203       REDACTED - Declaration of Shane Kevin Housmans, 2nd Platoon, India
             Company, 3rd Battalion, 1st Marine Regiment, 1st Marine Division, United States
             Marine Corps.

PX1204       REDACTED - Declaration of Joe Sanchez Jr, 2nd Platoon, India Company, 3rd
             Battalion, 1st Marine Regiment, 1st Marine Division, United States Marine Corps.

PX1205       REDACTED - Declaration of Samuel Williams, 2nd Platoon, India Company, 3rd
             Battalion, 1st Marine Regiment, 1st Marine Division, United States Marine Corps.

PX1206       REDACTED - Personal Award Recommendation – Silver Star, Dale A. Burger, Jr
             (Jan. 23, 2006), Statements of LT Jared W. Burgess and LCPL Sammie D. Jackson,
             Fis_BurgerD_MR_00000139-46.

PX1219       REDACTED - Letters of Administration-Dale Burger, Jr. (Aug. 1, 2018),
             Fis_BurgerD_E_00000001

PX1223       SEALED - Form DD 1300-Rpt. of Casualty (Nov. 14, 2004),
             Fis_Client_MR_00000158

PX1224       REDACTED - Form DD 2064- Cert. of Death Overseas (Nov. 14, 2004),
             Fis_BurgerD_MR_00000168

PX1227       REDACTED - Silver Star Award – Dale Burger, Military Times,
             Fis_BurgerD_CR_00000023-24

PX1251       SEALED - Expert Report & Declaration of Dr. Rael Strous, MD - Evaluation of
             Shane Kevin Housmans

PX1300       01-26-2005 Ops Report, s_22_MDR_22-0052_CLEAR,
             FISHBECK_CENTCOM_00000118-121.

PX1301       OperationsSIGACT_E6E1A265-C682-4F48-B4C1-
             90B650DDBD64_SANITIZED_CLEAR

PX1305       REDACTED - Declaration of Juan Martinez Rubio, 4th Platoon, Small Craft
             Company, Headquarters Battalion, United States Marine Corps.

PX1306       REDACTED - Declaration of Andrew Howard Rothman, Bravo Company, 1st
             Battalion, 7th Infantry Regiment, 1st Marine Division, United States Marine Corps.

PX1307       REDACTED - Declaration of Harry 'Butch" Dreany, 2nd Platoon, Charlie
             Company, 4th Combat Engineer Battalion, Division, United States Marine Corps
             Reserve.


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PX1308       REDACTED - Certificate/Letter of Qualification-Jonathan William Bowling (Sep.
             20, 2018), Fis_BowlingJ_E_00000003.

PX1310       SEALED - Bowling, Jonathan - Casualty Report Jan. 26, 2005

PX1314       REDACTED - Purple Heart (Jan. 26, 2005), Fis_BowlingJ_MR_00000074.

PX1316       SEALED - Final Autopsy Report, Bowling, Jonathan William (Jan. 29, 2005),
             Fis_BowlingJ_AFMES_0000002–4.

PX1317       SEALED - Final Autopsy Report, Photo of Bullets (Jan.29, 2005),
             Fis_BowlingJ_AFMES_00000053.

PX1319       REDACTED - Purple Heart (Jan. 26, 2005), Fis_RothmanA_CP_00000102.

PX1401       DoD Press Release RE Attack, Fis_JaureguiJ_R_00000006

PX1402       REDACTED - Declaration of John S. Fant, 2nd Battalion Field Artillery Regiment,
             2nd Brigade Combat Team, 2nd Infantry Division, United States Army.

PX1403       REDACTED - Declaration of Todd M. Jacobus, Iowa Army National Guard, 224th
             Engineer Battalion, United States Army.

PX1404       REDACTED - Declaration of Mark Crull, Iowa Army National Guard, 224th
             Engineer Battalion, United States Army

PX1405       REDACTED - Declaration of Jose M. Jauregui, A Battery, 2nd Battalion, 17th Field
             Artillery Regiment, 2nd Brigade Combat Team, 2nd Infantry Division, United States
             Army

PX1418       REDACTED - Grant of Administration of Estate, Tromaine K. Toy, Sr. (Mar. 28,
             2019), Fis_ToyT_E_00000006-9

PX1420       SEALED - DD Form 1300-Rpt. of Casualty (Apr. 16, 2005),
             Fis_ToyT_CP_0000001

PX1421       REDACTED - Statement of Service (Apr. 25, 2005), Fis_ToyT_MR_00000004,

PX1422       REDACTED - Purple Heart (Apr. 16, 2005), Fis_ToyT_VA_00000004

PX1427       SEALED - Final Autopsy Rpt.-TOY, Tromaine K. (Jun 26, 2005),
             Fis_ToyT_AFMES_00000001–3

PX1428       REDACTED - Letters of Authority for Personal Representative, Randy L. Stevens
             (Sept. 4, 2018), Fis_StevenR_E_00000002-3.


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PX1430       SEALED - DD Form 1300- Rpt. of Casualty, Fis_StevensR_CP_00000014

PX1433       REDACTED - Purple Heart (Apr. 16, 2005), Fis_StevensR_MR_00000019.

PX1435       REDACTED - Bronze Star (Apr. 16, 2005), Fis_StevensR_MR_00000021.

PX1439       SEALED - Final Autopsy Rpt., Stevens, Randy (Jun. 14, 2005),
             Fis_StevensR_AFMES_00000001-5.

PX1440       SEALED - Addendum to Autopsy Rpt., Stevens, Randy (Sep. 22, 2020),
             Fis_StevensR_AFMES_00000006.

PX1443       REDACTED - Order on Petition for Declaratory Judgment, Robert W. Briggs (May
             7, 2019), Fis_BriggsR_E_00000013-14.

PX1445       SEALED - DD Form 1300-Rpt. of Casualty (Jun. 28, 2011),
             Fis_BriggsR_MR_00000075.

PX1446       REDACTED - State of Iowa-Cert. of Death (Jun. 28, 2011),
             Fis_BriggsR_CP_00000001.

PX1450       REDACTED - Purple Heart (Apr. 16, 2005), Fis_BriggsR_CP_00000033.

PX1458       SEALED -Report of Autopsy, Robert W. Briggs (Jun. 30, 2011),
             Fis_BriggsR_PP_00000001–17.

PX1469       SEALED - Declaration of Michelle L. Briggs

PX1500       REDACTED 04-09-2008 Ops Report, s_38_MDR_22-0052_Attack_CLEAR,
             FISHBECK_CENTCOM_00000207-212

PX1501       REDACTED - Declaration of Brian Boisselle, Staff Sergeant, Explosive Ordinance
             Disposal Team, 332nd Expeditionary Wing, United States Air Force-
             Fis_CapraA_CR_00000020-26

PX1502       REDACTED - Letters of Administration, Anthony Louis Capra (Oct. 28, 2019),
             Fis_CapraA_E_00000007

PX1504       SEALED - DD Form 1300-Rpt. of Casualty (Apr. 9, 2008),
             Fis_CapraA_MR_00000051

PX1505       REDACTED - DD Form 2064-Cert. of Death (Apr. 9,
             2008),Fis_CapraA_MR_00000012-13




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PX1509       REDACTED - Bronze Star Medal, First Oak Leaf Cluster-Posthumous (Apr. 9,
             2008), Fis_CapraA_MR_00000163

PX1511       REDACTED - Bronze Star (Aug. 2005–Mar. 2006), Fis_CapraA_MR_00000164

PX1514       SEALED - Casualty Report (Detailed)(Apr. 9, 2008), Fis_CapraA_MR_00000033-
             34

PX1515       SEALED - Final Autopsy Report (Apr. 19, 2008), Fis_CapraA-AFMES_00000001-
             6

PX1600       CIDNE Ops Report number CDLNO 20370093. USCENTCOM FOIA #22-0054 28
             Apr 2022

PX1601       REDACTED Declaration of John S. Spiszer (2-19-2005) with Exhibits A-F (4-21-
             2022) redacted, Fis_CoyJ_CR_00000001-00000029

PX1603       REDACTED Malson, Adam M., DD FORM 1300, Report of Casualty, Department
             of the Army_redacted, Fis_MalsonA_MR_00000002

PX1605       REDACTED Malson, Adam M., Purple Heart Award & Announcement 23 February
             2005_redacted, Fis_MalsonA_MR_00000009, Fis_MalsonA_MR_00000018

PX1606       REDACTED Malson, Adam M., Bronze Star Award & Announcement 23 February
             2005_redacted, Fis_MalsonA_MR_00000040, Fis_MalsonA_MR_00000013

PX1610       REDACTED Malson, Adam, Armed Forces Medical Examiner Final Autopsy Report
             7 March 2005_redacted, Fis_MalsonA_AFMES_00000001-00000003

PX1612       REDACTED Declaration of Joshua D. Coy (2-19-2005) with Exhibits A-D (8-17-
             2022) redacted, Fis_CoyJ_CP_00000183-00000196

PX1615       REDACTED Coy, Joshua D., Purple Heart Award & Announcement 2 March
             2005_redacted, Fis_CoyJ_MR_00000144-00000145

PX1620       Report and Declaration of Experts Col. M. Lee Walters (U.S. Army, ret.), CW4
             Ronald Evans (U.S. Army, ret.), & CW3 David Sultzer (U.S. Army, ret.), Regarding
             February 19, 2005 Attack in Kadhimiya
PX1700       CIDNE Ops Report number 2006-260-170201-0280. USCENTCOM FOIA #22-
             0054, 29 Apr 2022
PX1701       REDACTED Declaration of Endi Herrera (9-17-2006) with Exhibits A-C (8-22-2022)
             redacted, Fis_HerreraE_CP_00000130-00000139
PX1704       REDACTED Herrera, Endi C., Purple Heart Award and Orders 7 October
             2006_redacted, Fis_HerreraE_MR_00000031-Fis_HerreraE_MR_00000032



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PX1705       Report and Declaration of Experts Col. M. Lee Walters (U.S. Army, ret.), CW4
             Ronald Evans (U.S. Army, ret.), & CW3 David Sultzer (U.S. Army, ret.), Regarding
             September 17, 2006 EFP Attack in Adhamiya District
PX1800       CIDNE Ops Report number 20070222225838SLB4446098980. USCENTCOM
             FOIA #22-0054,
PX1801       MNF-W Story Board. USCENTCOM FOIA #18-0837, 19 Feb 2019
PX1802       REDACTED Casualty Report for Hager, Joshua, Ryan. Dated Friday, February 23,
             2007_redacted, Fis_HagerJ_MR_00000007.
PX1803       Declaration of Charles P. Ferry
PX1804       REDACTED Executed Declaration of Raleigh Heekin (2-22-2007) with Exhibits A-
             E (8-25-2022)_redacted, Fis_HeekinR_CP_00000100- 00000117
PX1806       REDACTED Hager, Joshua R.              Certificate of Death Overseas_redacted,
             Fis_HagerJ_MR_00000008-00000009
PX1809       REDACTED Hager, Joshua Purple Heart Award and Order 22 Feb 2007_redacted,
             Fis_HagerJ_MR_00000049-00000050
PX1812       REDACTED Hager, Joshua Armed Forces Medical Examiner Autopsy Examination
             Report_redacted, Fis_HagerJ_AFMES_00000001-00000004
PX1815       Heekin, Raleigh Purple Heart Award 22 Feb 2007
PX1822       Report and Declaration of Experts Col. M. Lee Walters (U.S. Army, ret.), CW4
             Ronald Evans (U.S. Army, ret.), & CW3 David Sultzer (U.S. Army, ret.), Regarding
             February 22, 2007 Complex IED Attack in East Ramadi
PX1900       REDACTED            CIDNE         Ops        Report,       Tracking      Number:
             20080323164038SMB4936091420. (ENEMY ACTION) INDIRECT FIRE RPT
             (Rocket) JASG-C IZ BDOC: 2 CF WIA 4 CIV WIA. 11 Mar 2022_redacted,
             FISHBECK CENTCOM_00000041
PX1901       REDACTED         CIDNE       IDF    Report.          Tracking    Number:    IDF-
             20080323164038SMB4499885993.           Attack(s) on CF on FOB.           11 Mar
             2022_redacted, FISHBECK CENTCOM_00000038.
PX1907       REDACTED Declaration of Philip Trimble (3-23-2008) with Exhibit A (8-23-
             2022)_redacted, Fis_TrimbleP_CP_00001711-00000230
PX1908       Declaration of Witness Jeffrey W. Arleque
PX1909       Report and Declaration of Experts Col. M. Lee Walters (U.S. Army, ret.), CW4
             Ronald Evans (U.S. Army, ret.), & CW3 David Sultzer (U.S. Army, ret.), Regarding
             March 23, 2008 Attack on Green Zone (Baghdad)
PX2000       REDACTED            MNC-I         Ops        Report,       Tracking      Number:
             20080421145438SLD61944732, “(EXPLOSIVE HAZARD” IED EXPLOSION RPT
             (Underbelly IED) 5/D/1-327: 2 CF KIA 2 CF WIA 2 CIV KIA 1 CIV WIA 4 UE
             DET.” 23 Feb 2022_redacted, FISHBECK CENTCOM_00000195-00000200
PX2001       Declaration of Michael C. Behenna with Exhibits A-C
PX2004       REDACTED DD Form 1300, Report of Casualty, SPC Kohlhaas, Adam, Job,
             Fis_KohlhaasA_CP_000001, 9 May 2008_redacted, Fis_KohlhaasA_CP_00000001
PX2005       REDACTED Kohlhaas, Adam Certificate of Death Overseas_redacted,
             Fis_KohlhaasA_CP_00000073-00000074
PX2007       REDACTED Kohlhaas, Adam, Purple Heart Award and Orders 22 April
             2008_redacted, Fis_KohlhaasA_CP_00000066, Fis_KohlhaasA_CP_00000068


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PX2008       REDACTED Kohlhaas, Adam, Bronze Star Award and Orders 22 April
             2008_redacted, Fis_KohlhaasA_CP_00000067, Fis_KohlhaasA_CP_00000069
PX2015       Report and Declaration of Experts Col. M. Lee Walters (U.S. Army, ret.), CW4
             Ronald Evans (U.S. Army, ret.), & CW3 David Sultzer (U.S. Army, ret.), Regarding
             April 21, 2008 Attack in Salah ad Din Province
PX2102       REDACTED Declaration of Steve Nunez, Jr.
PX2103       REDACTED Declaration of Roman Moran
PX2106       Operation Forward Together intelligence briefing 22 May 2006
PX2107       Ops Report for 5 April 2005
PX2202       REDACTED Declaration of Brian L. Jenkins
PX2203       Declaration of Nicholas Siewert
PX2204       REDACTED Declaration of John Francis Prazynski
PX2205       REDACTED/UNDER SEAL Taylor Prazynski DD Form 1300 Report of Casualty
PX2206       REDACTED/UNDER SEAL Taylor Prazynski Final Autopsy Examination Report
PX2207       REDACTED/UNDER SEAL Dept. Of the Navy Certificate of Death - T. Prazynski
PX2208       Purple Heart awarded to Taylor Prazynski
PX2209       Ops Report for 9 May 2005
PX2303       REDACTED Declaration of Paul Eric Hanes
PX2304       REDACTED Declaration of Avion Jamahal Sherman
PX2307       REDACTED Ops Report - Jun 04 2006
PX2312       Photograph of blast seat following 4 June 2006 attack
PX2313       Photograph of evidence recovered from investigation into 4 June 2006 attack
PX2314       Sketch of scene of 4 June 2006 attack
PX2403       REDACTED Declaration of Larry Diaz Cabral, Jr.
PX2404       REDACTED Declaration of Robert Lee McCormick
PX2405       REDACTED Declaration of Richard Brumfield
PX2406       REDACTED Sworn Statement by John Yoder
PX2407       REDACTED Sworn Statement by Lee Andrew Brinker
PX2413       IED Report - Nov 14 2006
PX2414       REDACTED/ UNDER SEAL - Report and Declaration of Dr. Rael Strous regarding
             Robert McCormick
PX2504       REDACTED Declaration of Joel Tavera
PX2505       REDACTED Declaration of Christopher Lloyd
PX2506       REDACTED Declaration of Kevin Brian Lombardo




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